Case 1:16-cV-01094-P.]G ECF No. 59 filed 02/23/18 Page|D.847 Page 1 of 5

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTI-IERN DIVISION

 

CINDY GAMRAT,
Plaintiff,
v.

KEITH ALLARD; in his individual capacity;
BENJAMIN GRAHAM; in his individual capacity;
IOSHUA CLINE; in his individual capacity;
JOSEPH GAMRAT; MICHIGAN HOUSE OF
REPRESENTATIVES; K_EVIN G. COTTER, in
his is individual capacity; TIM L. BOWLIN, in his
individual capacity; BROCK SWARTZLE in his
individual capacity; NORM SAAR.I, in his
individual capacity; EDWAR.D MCBROOM, in his
individual capacity; HASSAN BEYDOUN, in his
individual capacity; DAVID HORR; and
VINCENT KRELL,

Case No. i:lé-cv-1094

HON. GORDON J. QUIST

Brief in Sl_.!nport of Plaintiff’s Motiun
for Legve to File Sgpplemental Brief
with Newlv-Acquired Evidence

 

Defendants.
'¥`y|er E. Osburn (P77829) Gary Gordon (P26290)
Schenk Boncher & Rypma .lason T. I"Ianse£man (P61813)
Attomeys f`or PiaintifFCindy Gamrat Dykema Gossett PLLC
601 'i`hree Mile Road NW Attomeys f`c)r Defendants Michigan House of
Grand Rapids, Ml 49544 Representatives, l\/chroom, Bowlin, Cutter,
616-647-8277 Swartzle, and Beydoun

Capitol View

Cameron Evans (P47276) 201 Townsend St,, Ste. 900
Evans Law Group, P.C. Lansing, Ml 48933
At£orney for Dei`endant Norm Saari (5¥7) 374-91(}0
950 W. University Drive, Suite 102
Rochester, MI 48307 H. Rhett Pinsky (P18920)
(248) 468-1485 Sarah Riley I~Ioward (`P58531)

Pinsl-cy, Smith, Fayette &. Kermedy, LLP

Attorneys for Defendants Keith AlEard and Benjamin
Graham

146 Monroe Center St NW, Suite 805

Grand Rapids, Ml 49503

(616) 451»~8496

 

EXPEDITED CONSIDERATION REQUESTED

Case 1:16-cV-01094-P.]G ECF No. 59 filed 02/23/18 Page|D.848 Page 2 of 5

On April 20, 2017, Defendants Michigan Hetlse of Representatives, Edward McBrooin,
’i`im Bowlin, Kevin G. Cotter, Brock Swartzle, and Hassan Beydoun (“House Defendants”) filed
a Motion to Dismiss Plaintiff Cindy Garnrat’s Arnended Complaint and Brief iii Suppnrt. (ECF
Nos. 23, 24.) Garnrat filed her Brief in Opposition to the Motioii to Disniiss on May 18, 2017,
and House Defendants filed their Reply Brief on June l, 2017. (ECF Nos. 32, 36.)

On June 20, 2017, Defendant Norin Saari filed a Motion to Dismiss and Briet` iri Support.
(ECF Nos. 43, 44.) On the same day, Defenclants Keith Allard and Benjarnin Graham also filed
a Motion to Dismiss and Brief in Support. (ECF Nos. 45, 46.) On july 18, 2017, Gamrat filed
her Briet`s in Opposition to the aforementioned motions. (ECF Nos. 49, 50.) Saari, Ailard, and
Graham filed their respective Reply Briefs on August 1, 2017 (ECF Nos. 51, 52.)

On January 22, 2018-~wiiife the motions described above Were pending in this Court-
former representative Tncld Courser filed his Motion and Brief to Dismiss Based on E)estruction
of Evidence, Hiding Evidence, and Mishandlirig Eviderice in the criminal case pending against
him in the Lapeer Coiinty Circuit Court. In his brief and the attachments thereto, Courser made
available publicly for the first time extensive evidence regarding the tampering of electronic
devices that Were assigned to him by the House of Representatives (the “House”) after the date
on Which a “iitigation hold” had been imposed by Befendants Cotter, Bowlin, and Swartzle, and
_a@ the electronic devices Were seized by the I~Iouse as part of the HBO investigation In his
brief and the attached reports, Courser also presented evidence that Gamrat’s electronic
devices-as well as devices assigned to Defendants Allard and Graharn--had been tampered
with after they had been seized by Cotter, Swartzle, and Bowlin.

On January 22, 2018, Gamrat filed Plaintift’ s Suppleinentai Brief With NeWiy-Acquired

Evidence in Support of Her Resporises to Defendants’ Motions to Dismiss. At the time of the

Case 1:16-cV-01094-P.]G ECF No. 59 filed 02/23/18 Page|D.849 Page 3 of 5

tiling, the hearing on Defendants’ motions to dismiss was scheduled to occur on January 25,
2018. Because of the close proximity to the hearing date and the recent revelation of the
evidence supporting her claims against Deferidants, Gamrat admittedly filed the supplemental
brief without filing a motion requesting leave from this Court. Unbeimownst to Gamrat at the
time, the motion hearing Scheduled for January 25, 2018, was adjourned just three minutes prior
to filing her supplemental brief. Had Gamrat known that the hearing had been adjourned while
she was in the process of filing her brief prior to actually filing the brief, she Wouid have taken
the tinie to tile a motion requesting leave in accordance with the local rules. This Court entered
an order striking Garnrat’s supplemental brief on January 24, 2018, because she did not seek
leave to tile the brief under the local court ruies. (ECF No. 57.)

In the three weeks that followed, Garnrat sought the services of her own forensics expert
to verify the information provided in support of Courser’s brief. On Februai'y 20, 2018, Gamrat
received an expert report from Neii Broom regarding one of the computers assigned to her that
was seized by Cotter, Swartzle, and Bowlin on August 8, 2015.1 Broom confirmed in his
forensic analysis, among other things, that someone with an administrative password iogged on
to Garnrat’s computer on August 10, 2015, plugged in a network cable, and allowed updates to
run on the computer. These actions_which Broom described as either intentional or grossly
negligent--~allowed over 12,200 flies to be modified or added on the computer, which
constituted 12.6 GB of data.

On Febi'uary 22, 2018, Garnrat received another expert report from Broom wherein he

described the BitLocker that has been activated on the other two computers assigned to Ganirat

 

§ The First Expert Report from Neil Broom, with attachments, is attached as Exhibit 1.
3

Case 1:16-cV-01094-P.]G ECF No. 59 filed 02/23/18 Page|D.85O Page 4 of 5

that Were seized by Cotter, Bowlin, and Swartzle.2 Oniy someone with an administrative login
and password could have placed the BitLocker on the hard drives of the two computers, which
has prevented any forensic analysis of these computers and has potentially destroyed the data on
those computers

The evidence above--~which is described in more detail in the supplemental brief and the
expert reports--shows that at the very least, the House, Cotter, Bowlin, and Swartzle were
grossly negligent in allowing the destruction of electronic evidence after imposing a litigation
hold on the computers and after seizing tbem.3 Gamrat has shown the requisite good cause for
this Court to grant her leave to tile the supplemental brief because there was simply no way that
Gamrat could have included the information contained in the supplemental brief and its
attachments in either her complaint or her responses to Defendants’ motions to dismiss because
the information just came to light in the last several weeks and she just received her own expert’s
second report on the date of this motion. Similarly, discovery has not even started in this case
and Garnrat has already discovered evidence showing that massive amounts of electronic data
has been tampered with, altered, and potentially destroyed by the House and liouse Defendants.
'l`hat alone should warrant a deniai of Defendants’ motions and, at the very least, shows that
Defendants’ motions requesting dismissal based on their allegations that Gamrat’s claims have
no reasonable basis are without merit in light of the fact that what little discovery Gamrat has
been able to conduct has already lent support for her allegations The law is also in her favor, as

the Sixth Circuit has recognized that in situations involving the spoliation of evidence_such as

 

2 The Second Expert Report from Neil Broom is attached as Exhibit 2.
3 Plaintift" s Supplemental Brief with Newiy-Acqnired Evidence in Support of Her Responses to

Defendants’ Motions to Dismiss, with attachments, is attached as Exhibit 3.

Case 1:16-cV-01094-P.]G ECF No. 59 fi|ed 02/23/18 Page|D.851 Page 5 of 5

this case--a party may be entitled to summary judgment or an adverse inference instruction
See, e.g., Adkins v. Wolever, 554 F.3d 650, 652~653 (6th Cir. 2009).

Gamrat also requests that this Court grant her request for expedited consideration of this
motion given its proximity to the hearing on Defendants’ motions to dismiss Based on the
foregoing inforrnation, Gamrat further respectfully requests that this Court grant her l\/lotion for
Leave to File Supplemental Brief with Newly-Acquired Evidence; accept the supplemental brief
for filing and consideration before the hearing on Defendants’ motions to dismiss; ultimately
deny Defendants’ motions after the hearing on March 5, 2018; and grant iier any other relief that

this Court may deem fair and proper.

Respectfully Submitted,

SCHENK, BONCHER & RYPl\/IA

Dated: February 22, 2018 By: /s/ Tyler E. Osbum
Tyler E. Osburn (P77829)
Attorney for Plaintiff
601 Three Mile Road NW
Grand Rapids, MI 495-44
(616) 647~8277

S:\Clienls\Gamrat - Bauer\USDC i6-1094\Briet' iii Support of P's Moiion for Leave to File Supp Briel`.docx

